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              EXHIBITB
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                                    PROFESSIONAL EMPLOYMENT AGREEMENT

          I.      Purpose of Representation: The undersigned hereby agree(s) to employ
          Eisenberg Rothweiler, Kosnoff Law, and AVA Law Group as attorneys-at-law to
          represent the undersigned in claims against the Boy Scouts ofAmerica The undersigned
          agrees that said attorneys are granted the right to associate with other law firms in the
          prosecution of the claim, if they feel that such is in the client(s) best interests.

          II.     Scope of Representation: By signing this Engagement Agreement, you
          understand and agree that AIS Counsel is committing to represent you only in
          connection with the February 18, 2020 bankruptcy filing, or a related global
          resolution of sex abuse claims against BSA. You have the right to terminate the
          representation at any time, subject to our right to recoup fees and expenses as
          provided by law.

          III.    Attorney's Fee: In consideration for services rendered, it is agreed that the
          undersigned will pay to said attorneys a smn equal to -   of any amount recovered,
          whether by compromise before suit is filed, or compromise or judgment after suit is
          filed. Thellll attorney's fee shall be split:         llllllto
                                                               Eisenberg Rothweiler, -       to
          Kosnoff Law, and - t o AVA Law Group. It is agreed that the undersigned will
          owe no fees to said attorneys if nothing is received or recovered on behalf of the
          undersigned.

          IV.      Expenses: After deduction of said attorney's fees from any recovery, it is
          agreed that the undersigned will reimburse said attorneys for any court costs, medical
          records retrieval costs, cost of carry, and other expenses incurred or advanced by
          said attorneys in handling such claims on behalf of the undersigned. It is agreed that
          the undersigned will owe no expenses to said attorneys if nothing is received or
          recovered on behalf of the undersigned.

                         SIGNED AND AGREED on this _ _ _day o f ~ - - - - - ~ 2 0 _ .

          AGREED and APPROVED:

          Client's PrintedName:
          Client's Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           Client's SSN: _ _ _ _ _ _ _ _ _ _ _ _ __

          Client's DOB: _ _ _ _ _ _ _ _ _ _ _ _ __
